The jury found the defendant guilty. The court pronounced judgment, and the defendant appealed.
The defendant on the trial took seven exceptions to the rulings of his Honor in admitting and rejecting evidence, no one of which was tenable.
In the "case on appeal" it is stated that the defendant moved to quash the indictment. When this motion was made, if made at all, does not appear. It certainly does not appear in the record proper that such a motion was ever made. The defendant was twice put on his trial: First at the ______ Term, 188_, of same court, when there was a mistrial, and then at the July Term, 1885, when he was convicted and appealed to this Court. At each of these terms of the court the defendant was arraigned and pleaded not guilty. Strictly, a motion to quash must be made on the arraignment and before pleading, and will never be entertained after verdict. S. v. Jarvis,63 N.C. 556. But conceding it to have been made in apt time, there is no ground that we have been able to discern in the record for quashing the indictment or arresting the judgment.
When defendants appeal merely for delay, it is very desirable that they should content themselves with one exception, which will answer their purpose just as well as seven or more.
There is no error. Let this be certified to the Superior Court of Wake County that the case may be proceeded with according to law.
No error.                                             Affirmed.
Cited: S. v. Haywood, 94 N.C. 850; S. v. Gardner, 104 N.C. 741. *Page 425 
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